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                                  IN THE UNITED STATES DISTRICT
                                  COURT FO R THE W ESTERN DISTICT                      .       w cuu
                                  OF VIRGINIA

     Foruseby'inmat/sfilingacomplaintunderCIVILRIGHTSACT,42U.S.C.91983

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     Pla' tifffullnam e                                                              lnm ate No.

     v.                                          CIVILAcm ox xo. <1$% cvûb 707
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   Defendantls)fullna els)
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               C. Have you begun an action in state orfederalcourtdealing with the sam e
                  facts involved in this com plaint?
                            Yes              No

                  Ifyouranswerto A is Yes,answerthe following'
                                                             .

                        1. Court:
                            Case Number:

               D. Have you filed any grievances regarding the facts ofthis com plaint?

                            Yes      : I No
                      IfyouranswerisYes,indicate the result:




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                  2. lfyouransweris No,indicate w hy:
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Case 7:19-cv-00707-EKD-JCH Document 1 Filed 10/21/19 Page 1 of 3 Pageid#: 1
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                E. StatementofClaimts):State brieflythefactsinthiscomplaint.Describewhat
                   actionts)eachdefendanttookin violationofyourfederalrightsandincludethe
                        relevantdates and places.Do notgive any Iegalargum ents orcite any cases
                        orstatutes.lfnecessary,you mayattachaddi
                                                               tionalpagels).Pleasewrite
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                Claim #1- Suppoding Facts - Briefly tellyourstory withoutci
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                Claim #2- Suppoding Facts- Brieflytellyourstorywithoutciting casesorIaw:
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           F. State whatreliefyou seekfrom the Court.Make no legalargumentsand cite no
              cases orstatutes.

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           G. lfthiscase goesto trialdoyourequestatrialbyjury? Yes                     No
           H. IfIam released ortransferred,Iunderstand itis my responsibility to im mediately
              noti
                 fythe coud in writinq ofany change ofaddress afterlhave been released or
             transferred ormy case m ay be dism issed.

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           VERIFICATION:
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           know the contentofthe ove complaint'    ,thatitistrueofmy own knowl   edge,exceptasto those
           mattersthatare statedto be based on information and belief,and as to those matters,1believe
           them to be true.Ifurtherstate thatlbelieve the factualassertations aresumcientto suppod a
           claim ofviolationofconsti
                                   tutionalriqhts.Further,IverifythatIam awareoftheprovisi
                                                                                         onsset
           forthin28U.S.C.51915thatprohibl
                                         taninmatefrom filingaci
                                                               vilactionorappeal:ifthe prisoner
           has,on three ormore occasions,whil
                                            e incarcerated broughtan actionorappealIn federalcourt
           thatisdism i
                      ssed onthe groundsthatitwasfrivolous,m alicious,orfail
                                                                           edto state a claim upon
           whi
             chreliefmaybejranted,unlesstheprisonerisimminentdangerofseriousphysicalinjury.I
           understand thatifthlscomplaintisdismissed on any ofthe above grounds,Imay be prohibited
           from filing anyfuture acti
                                    onswi
                                        thoutthe pre-paymentofthefilingfees.ldeclare underpenalty of
           perjurytheforeg ingt betrueandcorrect.
           DATED: 0 t ' (                           SIGNATURE:       l       '.


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